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   AO 245 S (Rev. 2/99)(EDVA rev.1) Sheet 1 - Judgment in a Criminal Case




                                    UNITED STATES DISTRICT COURT
                                               Eastern District of Virginia
                                                       Alexandria Division

   UNITED STATES OF AMERICA

                  V.                                                        Case Number 1:16CR00265-001

   NICHOLAS YOUNG,

   Defendant.


                                            JUDGMENT IN A CRIMINAL CASE

          The defendant, NICHOLAS YOUNG, was represented by Nicholas D. Smith and Linda Moreno,
   Esquires.

             The defendant was found guilty after a trial by Jury as to Counts 1, 2, and 4 of the Indictment.
   Accordingly, the defendant is adjudged guilty of the following count(s), involving the indicated offense(s)
                                                                                                   Date Offense
Title & Section                                            Nature of Offense                                          Count Numberisl
                                                                                                    Concluded

18U.S.C.§2339B                             Attempt to Provide Material Support to a               10/15/2004
                                           Designated Foreign Terrorist Organization
                                           (Felony)
18U.S.C.§1512(c)(2)                        Attempt to Obstruct Justice (Felony)                   12/05/2015                2


18 U.S.C. §1512(c)(2)                      Attempt to Obstruct Justice (Felony)                   11/20/2014                4




            On motion of the United States, the Court has dismissed Count 3 of the Indictment.

           As pronounced on February 23, 2018, the defendant is sentenced as provided in pages 2 through 7* of
   this Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

           IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
   within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
   assessments imposed by this judgment are fully paid.

            Signed this                 day of^^i/u.<ct                     ., 2018.




                                                                                                     /j/
                                                                                       Leonie M. BrinkeiKa
                                                                                       United States District Judge
   * Page 7 of this document contains sealed information
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